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 1    UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
 2    ------------------------------x
                                               09-CR-00466(BMC)
 3    UNITED STATES OF AMERICA,
                                               United States Courthouse
 4                                             Brooklyn, New York

 5                -against-                    January 14, 2019
                                               9:30 a.m.
 6    JOAQUIN ARCHIVALDO GUZMAN LOERA,

 7                Defendant.

 8    ------------------------------x

 9                                   EXCERPT

10                  TRANSCRIPT OF CRIMINAL CAUSE FOR TRIAL
                     BEFORE THE HONORABLE BRIAN M. COGAN
11                       UNITED STATES DISTRICT JUDGE

12    APPEARANCES

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                           Official Court Reporter
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                                                                            2


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      Proceedings recorded by mechanical stenography.          Transcript
24    produced by computer-aided transcription.

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                                                                            3
                                  PROCEEDINGS

 1                (The following occurred in the jury room; all jurors

 2    present.)

 3                THE COURT:    Good morning, everybody.

 4                THE JURY:    Good morning.

 5                THE COURT:    How are you?

 6                THE JUROR:    Is it someone's birthday?

 7                THE COURT:    As you know, I have been instructing you

 8    at least once a day, usually at the end of the day to be very

 9    careful about staying away from any media coverage of the

10    case.   And I know you've been trying your best to do that,

11    despite the fact that I'll tell you there's been a fair amount

12    of media coverage of the case.

13                There was an article over the weekend, and there may

14    be more, that really don't bear on the case directly, but they

15    had to do with the personal actions of one of the attorneys

16    who's working on the case.       And I need to make sure that --

17    first of all, I need to know whether anybody saw that article,

18    despite my instruction to stay away from that stuff, and if

19    anybody did see it, I need to make sure that they still

20    believe they can give the defendant a fair trial and that

21    article isn't going to influence them in any way.

22                So let me ask the first question, first, does

23    anybody know what article I'm talking about dealing with the

24    personal affairs of one of the attorneys?

25                THE JURY: No.

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                                                                            4
                                  PROCEEDINGS

 1                THE COURT:    Now is the time if anybody saw it.

 2                THE JURY:    No.

 3                THE JUROR:    I have no idea what you're talking

 4    about.

 5                THE COURT:    Okay.   You are doing a great job, you're

 6    doing just what you're supposed to do.         Okay.   That's all I

 7    need to ask you, we will be with you very shortly.           Thank you.

 8                (Excerpt concluded.)

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